              Case 2:04-cr-00337-WBS Document 58 Filed 05/31/05 Page 1 of 2


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     Federal Defender
 2   MARK J. REICHEL, Bar #155034
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
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 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     LIANNA SUGGETT
 6
 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,             )
11                                         ) Case No. CR.S-04-337-WBS
                        Plaintiff,         )
12                                         )
            v.                             )      STIPULATION AND ORDER;
13                                         )          EXCLUSION OF TIME
                                           )
14                                         )
     LIANNA SUGGETT,                       ) Date: June 15, 2005
15                                         ) Time: 9:00 a.m.
                    Defendant.               Judge: Honorable William B. Shubb
16   _____________________________

17          IT IS HEREBY STIPULATED by and between the parties hereto through

18   their respective counsel, KEN MELIKIAN, Assistant United States

19   Attorney, attorney for Plaintiff, MARK J. REICHEL, Assistant Federal

20   Defender, attorney for Defendant, that the previously scheduled status

21   conference hearing date of June 1, 2005 be vacated and the matter set

22   for change of plea on June 15, 2005 at 9:00 am.

23          This continuance is requested because defense counsel was will be

24   out of town on training May 31st through June 3rd.           Defense counsel also

25   need additional time to review discovery with the defendant, conduct

26   legal research, perform background factual investigation, and properly

27   prepare for a potential change of plea.

28   Stip and Order
              Case 2:04-cr-00337-WBS Document 58 Filed 05/31/05 Page 2 of 2


 1          Accordingly, all counsel and the defendant agree that time under
 2   the Speedy Trial Act from the date this stipulation is lodged, through
 3   June 15, 2005, should be excluded in computing the time within which
 4   trial must commence under the Speedy Trial Act, pursuant to Title 18
 5   U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
 6   DATED:     May 27, 2005.                  Respectfully submitted,
 7                                                   QUIN DENVIR
                                                     Federal Public Defender
 8
 9
     DATED:     May 27, 2005.                        /s/MARK J. REICHEL
10                                                   MARK J. REICHEL
                                                     Assistant Federal Defender
11                                                   Attorney for Defendant
12
                                                     McGREGOR SCOTT
13                                                   United States Attorney
14
15   DATED:     May 27, 2005.                        /s/MARK J. REICHEL for
                                                     KEN MELIKIAN
16                                                   Assistant U.S. Attorney
                                                     Attorney for Plaintiff
17
18                                        O R D E R
19        IT IS SO ORDERED. The court finds that the interests of justice
     in granting the continuance outweighs the public's interest in a speedy
20   trial and therefore time is excluded in the interests of justice
     pursuant to 18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
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     DATED: May 26, 2005
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     Stip and Order                            2
